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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                 (Filed: October 16, 2015)

* * * * * * * * * * * * *                 **       UNPUBLISHED
SHERRY C. JOHNSON,                         *
                                           *       No. 15-431
              Petitioner,                  *
                                           *       Special Master Hamilton-Fieldman
v.                                         *
                                           *       Voluntary dismissal under
SECRETARY OF HEALTH                        *       Vaccine Rule 21(a).
AND HUMAN SERVICES,                        *
                                           *
              Respondent.                  *
* * * * * * * * * * * * * * *
Nancy R. Meyers, Ward Black Law, Greensboro, NC, for Petitioner.
Christine M. Becer, United States Department of Justice, Washington, DC, for Respondent.

                          ORDER CONCLUDING PROCEEDINGS1

        On April 29, 2015, Sherry C. Johnson (“Petitioner”) filed a petition for compensation under
the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 et seq. (2006) (“Vaccine
Act”). Petitioner alleged that an influenza (“flu”) vaccine administered on October 8, 2013 caused
her to suffer from Guillain-Barré Syndrome (“GBS”).

       On October 16, 2015, the parties filed a Joint Stipulation of Dismissal, stating the parties
give notice of Petitioner’s voluntary dismissal pursuant to Vaccine Rule 21(a).

        Accordingly, pursuant to Vaccine Rule 21(a), the above-captioned case is hereby
dismissed. The Clerk of Court is hereby instructed that a judgment shall not enter in the
instant case pursuant to Vaccine Rule 21(a).




1
 Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 and note (2006)). In accordance with
Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
the undersigned agrees that the identified material fits within the requirements of that provision,
such material will be deleted from public access.
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                             CONCLUSION

Proceedings are concluded in this case.

IT IS SO ORDERED.

                                     s/Lisa D. Hamilton-Fieldman
                                     Lisa D. Hamilton-Fieldman
                                     Special Master




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